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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,     )
                              )
                   Plaintiff, )
                              )                   Case No. 21-CR-30009-DWD
vs.                           )
                              )
DERRICK D. INGRAM,            )
                              )
                   Defendant. )

                      PRELIMINARY ORDER OF FORFEITURE

DUGAN, District Judge:

      In the indictment filed on January 21, 2021, the United States sought forfeiture of

property of Defendant Derrick D. Ingram pursuant to 18 U.S.C. § 924(d). Ingram pleaded

guilty on August 18, 2021, and, upon consideration of guilty plea, the Court FINDS

forfeitable and ORDERS forfeited the following property:

     A Stoeger .40 caliber semi-automatic handgun, bearing serial number T6492-
     14D01092, and any and all ammunition contained therein.

      The United States, under the authority of 21 U.S.C. § 853(n)(1), shall “publish

notice of the order and of its intent to dispose of the property in such matter as the

Attorney General may direct,” to provide notice of the forfeiture and of the right of

persons other than the defendant who have any claim or legal interest in any of the

property to file a petition with the Court. The notice shall be provided in a manner

consistent with Supplemental Rule G(4)(a) of the Supplemental Rules for Admiralty or

Maritime Claims and Asset Forfeiture Actions.

      The notice shall state that the petition shall:
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          x   Be set for a hearing to adjudicate the validity of the petitioner's alleged

              interest in the property;

          x   Be signed by the petitioner under penalty of perjury; and

          x   Set forth the nature and extent of the petitioner's right, title, or interest in

              the forfeited property and any additional facts supporting the petitioner's

              claim and the relief sought.

       The United States shall, also to the extent practicable, provide direct written notice

to any person known to have alleged an interest in the property that is the subject of the

Order for Forfeiture, as the substitute for the published notice to those persons so

notified. Upon the filing a petition alleging the third-party interests in the property, the

Court may amend this Order to resolve the claimed third-party interests.

       The United States Marshal or the custodian for the bureau of Alcohol, Tobacco,

Firearms and Explosives shall seize and reduce to his possession, if he has not already

done so, the above-described property. This Order, pursuant to Rule 32.2(b)(4) of the

Federal Rules of Criminal Procedure, shall become final with respect to Defendant

Derrick D. Ingram at the time of the Defendant’s sentencing, regardless of whether or not

the rights of actual or potential third-party petitioners have been determined by that time.

Absent any revisions or modifications prior to the imposition of sentence, this Order shall

be made part of the sentence of Defendant Derrick D. Ingram and shall be included in the

Judgment imposed against the Defendant. See FED. R. CRIM. P. 32.2(b)(2). Although this

Order will be final with respect to the defendant at the time of sentencing, it may be


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amended with respect to petitions filed by third-parties claiming an interest in the

subject-matter forfeited property.

      The United States may abandon forfeiture of the property by filing notice of the

abandonment with the Court.

      SO ORDERED.

      Dated: September 29, 2021
                                                    /s David W. Dugan
                                                    ______________________________
                                                    DAVID W. DUGAN
                                                    United States District Judge




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